Case 1:20-cv-00099 Document 1 Filed on 07/08/20 in TXSD Page 1 of 10

CAUSE NO:

IN THE

 

Plaintiff,
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Vv. BDA ig: pot f vafiege

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Defendant.

 

 

PLAINTIFF’S ORIGINAL PETITION AND REQUEST F(
PLAINTIFF, proceeding pro se, brings this complaint for dam
and alleges as follows:

I. DISCOVERY LEVEL
1. Pursuantto Rule, Yexas Rules of Civil Procedure, this |
Il. REQUEST FOR DISCLOSURE!
2. Pursuant to Rule 194, Zexas Rules of Civil Procedure, you are
within 50 days of service of this request, all information requi:

UL. PARTIES

3. Plaintiff is

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N: 344. Biner

 

United States District Court
Southern District ot Texas
FILED

JUL ~ 8 2020

David J. Bradley, Clerk of court

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Case 1:20-cv-00099 Document 1 Filed on 07/08/20 in TXSD Page 2 of 10

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The damages claimed in this complaint do not exceed the jurisdictional limits of this

Court.

¥V. FACTS ALLEGED

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VI. CLAIMS FOR RELIEF

FIRST CLAIM FOR RELIEF:

PLAINTIFF’S ORIGINAL PETITION AND REQUEST FOR DISCLOSURES, page
of
Case 1:20-cv-00099 Document 1 Filed on 07/08/20 in TXSD Page 3 of 10

. Plaintiff re-alleges and incorporates all prior allegations in this Petition as if fully

set forth here.

 

 

 

 

. Defendant’s actions, as described above, have caused Plaintiff the following

 

 

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VIL PRAYER FOR RELIEF

. WHEREFORE, Plaintiff requests the following relict:

 

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PLAINTYF F’S ORIGINAL PETITION AND ie FOR DISCLOSURES, page
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Case 1:20-cv-00099 Document 1 Filed on 07/08/20 in TXSD Page 4 of 10

-A money award judgment entered against Defendant for Plaintiffs damages, which are

within the jurisdictional limits of this court.

-An award of post-judgment interest on any money damages awarded at the current

statutory rate.

-Plaintiff's reasonable costs and disbursements for bringing this action.

-Any and all other relief the Court deems just and reasonable under the circumstances.

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Respectfully submitted on: //e'/:

 

 

 

 

 

 

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PLAINTIFE’S CRIGINAL PETITION AND REQUEST FOR DISCLOSURES, page
Case 1:20-cv-00099

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Print your name and address on the reverse
so that we can return the card to you.
Attach this card to the back of the mailpiece,
or on the front if space permits.

A. Signature

 

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C. Date of Del

 

 

   

1. Article Addressed to:

 

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C] No

 

 

S. Service Type

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Ci Adult Signature Restricted Delivery
C1 Certified Mail®

C] Certified Mail Restricted Delivery

 

{1 Collect on Delivery

 

9. Article Numbar (Trancfas trans nswdan

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“PS Form 3811, July 2015 PSN 7530-02-000-9053

  

 

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3. Service Type
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Cl Certified Mail®

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__2, Article Number (Transfer from service Jabal.

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